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                           IN TH E U NITED STATES D ISTRICT CO URT
                          FOR THE SOU THERN D ISTRICT 0 F FLORID A
                                        M IAM IDIV ISION

    UNITED STATESEQUAL
    EO LO YM EN T O PPO RTUNITY
    COM M ISSION ,

                          Plaintifs
                                                      CaseN o.l5-cv-20561-JAL/JG

    GM RIm C .,

                          D efendant.


                                        CON SEN T D ECR EE

           This ConsentDecree (lr ecree'')ismadeand entered into by andbetween theUnited
    States EqualEmployment Opportunity Commission (sfommission''or the '$EEOC'') and
    GMRI,Inc.(dtseasons 52''orçr efendanf')(hereinaûerEEOC and Seasons 52 collectively
    referredtoasdstheParties'').
                                         INTR ODU CTIO N

                   The Comm ission tsled this action on February 12,2015,alleging thatSeasons 52

    engaged in a pattern orpractice ofage discrim ination by refusing to hire applicants age 40 and
                                                                                 XF


    over for front-of-the-house and back-of-the-house positions at 35 restaurants nationw ide, in

     violation of the A ge D iscrim ination in Employment A ct of 1967, as am ended, 29 U .S.C.

     j6264b)(thet$ADEA''). The Commission also allegedthatSeasons52 did nothireCharging
    Parties Anthony Scornavacca orH ugo A lfaro based on theirage,in violation ofthe A DEA .

                   The agreem entto enter into this Decree shallnotbe construed asan adm ission of

     liability by Seasons 52 as to any allegations by EEOC. Seasons 52 deniesthe allegations in the

     Complaintand denies thatitviolated the AD EA .
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                   In the interestofresolving this matter,and to avoid ftlrther costof litigation,and

    asa resultofhaving engaged in com prehensive settlem entnegotiations,the Parties have ap eed

    thatthis action should be inally resolved by entry ofthis Decree. This Decree is finaland
    binding on theParties,and theirrespectivesuccessorsand assigns.
           4.      N o w aiver,m oditk ation,or amendm ent ofany provision ofthis D ecree w illbe

    effective unless made in writing and signed by an authorized representative of each of the

    Parties. By m utualagreem ent of the Parties,this D ecree m ay be am ended or m odified in the

    interestsofjusticeandfairnessinordertoeffectuatetheprovisionsofthisDecree.
                   This D ecree fully and finally resolves the claims asserted by the Com m ission in

    theComplaintfiled inthisactionstyledEEOC v.GMRL Inc.,CaseNo.15-cw20561-JLK (S.D.
    Fla.),and the underlying EEOC chargesofdiscrimination which are:EEOC ChargeNo.510-
    2011-01267 (Anthony Scornavacca v.Seasons 52 Fresh Grill),and EEOC ChargeNo.510-
    2011-01266(HugoA.Alfarov.Seasons52FreshGrilo.
           6.      This Decree constitutes the com plete understanding between the Parties w ith

    respectto the mattersherein.

                   lf one or m ore provisions ofthis Decree are rendered unlaw f'
                                                                                ulor unenforceable,

    the Parties shallattemptto agree upon whatamendm entsto this Decree,ifany,are appropriateto

    effectuate the purposes of this Decree. In any event, the unaffected provisions w ill remain

    enforceablù.

                   ThisD ecree does notresolve any charges ofdiscrim ination that may be pending

    w ith the Com m ission againstSeasons52 otherthan the Chargesreferred to in parap aph 5.This

    D ecree in no w ay affectsthe EEOC 'Srightto bring,process,investigate,orlitigate othercharges




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        that m ay be in existence or that m ay later be filed against Seasons 52 in accordance w ith

        standard EEOC procedures.

                      N othing in this Decree shall be construed to lim it or reduce Seasons 52's
    '
        obligations to comply w ith the statutes enforced by EEOC ;Title VI1 ofthe CivilRights A ctof

        1964,as amended,42 U.S.C.j2000e etseq.,(ddTitle V11''),Title Iofthe Americanswith
        Disabilities Act ($tADA''), 42 U.S.C. j12101, as amended, the Age Digcrimination in
        EmploymentAct(CdADEA'')>29 U.S.C.j5621-633a,the EqualPay.Act(:$
                                                                      EPA'')) 29 U.S.C.
        j206(d),and the Genetic lnfonuation Nondiscrimination Act of 2008 ((tGlNA),42 U.S.C.
        j2000f
                                               DEFINITION S

               10.    The tenu tlcom m ission''or SI
                                                   E EOC''is the U.S.EqualEmploym entOpporttm ity

        Com m ission,an agency ofthe U nited States Government.

                      The term SsAllegedly A ggrieved Person''orSW A P''refers to individualswho were

        age 40 or above w hen they applied through subm ission in person w ith a paper application or

        w hen they applied electronically and padici
                                                   pated in a face-to-face interview ,and were denied a

        FOH or BOH Position w ith Seasons 52 at one of the 35 restaurant locations at issue in this

        lawsuit(dtLitigatedRestaurantLocations'').
                      The term çKEligible A ggrieved Person''orSSEAP''areA llegedly A ggrieved Persons

        determ ined by EEOC to be entitled to receive a m onetary aw ard.

                      The tenu dtclaim s Adm inistrator''shallrefer to a claim s adm inistrator ofEEOC'S

        choosing w ho,along w ith Seasons52,shallcauseto be es/blished a Qualit
                               .                                              sed SettlementFund
        underj468(b)ofthelnternalRevenueCode hereunderforthepurposeofproviding individual
        monetary awardsto Eligible A ggrieved Persons.



                                                       3
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            14     The term dsday''or&sdays''m eanscalendardays.

            15.    The term StEffective D ate'' shall m ean the date on w hich the Cotlrt gives final

    approvalto the Decree by entering iton the Courtdocketafterm otion and hearing,ifrequired.

            16.    The tenu $T OH Position'' refers to a11 front of the house, non-managem ent

    positionscompensated on an hourly basis atSeasons52 restaurants,including: Host/ess,Server,

    Bartender,and Foodrunner.

            l7.    The term CIBOH Position'' refers to al1 back of the house, non-managem ent

    positions compensated on an hourly basis at Seasons 52 restaurants, including: Steward,Prep

    Cook,and Line Cook.

            18     The term Sll-lire''or isl-liring''refers to the filling of a job opening with an
     individualwho isnew to Seasons 52 orw ho is a form eremployee ofSeasons 52.

            19.    The term Sscovered Restaurant Locations'' refers to the Seasons 52 restatlrant

     locations opened between February l,2010 the expiration ofthisConsentD ecree.

                   Theterm Stitigated RestaurantLocations''rbfersto the 35 Seasons52 restaùrant

     locationsopened between February 1,20l0 and February l2,2015.

            21.    The term St itigation''refers to the action filed by the EEO C on Febnzary 12,

    2015,alleging thatSeasons 52 did not hire applicants age 40 and over at Litigated Restaurant

     Locationsbecause oftheirage in violation ofthe AD EA.

            22.    Thetenu CQNRO ''shallm ean N ew RestaurantOpening.

                   The tenus dt
                              person in the protected age g'
                                                           roup,''STA G ''or (d
                                                                              person in the PAG ''

     referto an individualage 40 orabove.

            24. The tenn dtl-liring Complaint''meansa formalcomplaint or objection to age
     discrim ination in hking thatrelatesto the hiring process atany Litigated RestaurantLocation or
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    atany Covered Restaurant Locations.A formalcomplaint is a com plaintthat is subm itted to a

    M anaging Partner or higher levelof m anagement,Employee Relations,the Seasons 52 Guest

    Relations E-m ail, the Ethics hotline, or one that Seasons 52 became aw are of in those

    departmerks.
                                                FINDIN GS

           25.     Having carefully exam ined the terms and provisions ofthis D ecree,and based on

    thepleadings,record,and stipulations ofthe Parties,the Courtfindsthe follow ing:

                             ThisCourthasjurisdiction overthesubjectmatterofthisaction and the
                             Parties;

                             TheCourtwillretainjurisdictionforthedurationofthisDecree;
                   C.        Nopal'tyshallcontestthejurisdictionofthisCourtto enforcethisDecree
                             and itsterm s orthe right ofthe Com m ission to bring an enforcementsuit

                             uponallegedbreachofanytermts)ofthisDecree;
                   d.        ThetermsofthisDecreeareadequate,fair,reasonable,equitable,andjust.
                             The rights of Charging Parties Scornavacca and A lfaro, A llegedly

                             A ggrieved Persons,and thepublic interestare adequately protected by this

                             Decree;and

                             The term s of this Decree are and shallbe binding upon the present and

                             future representatives,agents,directors, officers,successors,and assigns
                                                            .
                        /'

                             ofSeasons52.

    N OW ,TH ER EFOR E,IT IS ORD ER ED ,AD JUD GED ,AND D ECREED AS FO LLO W S:

                                        DURATION OFDECRiE



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             26. ThisDecreeshallbe in effectforaperiod ofthree (3)years9om theEffective
    Ilate.

                   This Decree w illnotexpire while any enforcem entaction concerning thisD ecree

    ispending.

                             GENERAL G JUNCTIVE PROVJSIONS
             28.   Seasons52,itsofficers,agents,servants,employees,successors in interest,and a11

    personsactinginconcertwiththem oronthekbehalfshallnotrejectapplicantsforFOH orBOH
    Positionsata11Seasons52 restaurantlocationson the basisofage in violation ofthe AD EA.

             29.   Seasons 52,itsoffkers,agents,servants,em ployees,duccessors in interest,and a1l

    persons acting in concertwith them oron theirbehaltlshallnotprintorpublish,orcauseto be
    printed or published, any notice or advertisem ent relating to employm ent that indicates any

    preference, lim itation,specifk ation,or discrim ination based on age in violation of the AD EA.

    Such prohibited conduct includes,but is not lim ited to, notices and advertisem ents regarding

    career opportunities posted on any w ebsite by or for Seasons 52 that explicitly or implicitly

    expressa preference,lim itation,specifk ation,ordiscrim ination because ofage.

             30.   Seasons52,itsofficers,agents,servants,employees,successors in interest,and a1l

    personsacting in concertwith them oronthek behalf shallnotretaliateagainstanyapplicantsor
    employeesAta1lSeasons 52 restaurant locations who:oppose any hiring practice m ade unlaw ful

    by the A DEA ;t5le a charge of discrim ination on the basis of age;assist in any investigation,

    proceeding, or hearing in connection w ith any charge of discrim ination or complaint of age

    discrim ination on the basis ofage;orsoughtorreceived reliefin this action.

                                   INJIJN CTIVE PR O W SION S:

                               D ECREE COM PLIAN CE M O NITOR



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           31.    The partiesagree thatFred W .A lvarez ofJonesD ay shallbe engaged by Seasons

    52 to serve astheindependentDecree Compliance Monitor(d(DCM''). TheDCM shallhave
    responsibility form onitoring Seasons521scompliapce with thisD ecree foritsduration. lfatany

    pointM r.A lvarez becom es unavailable to serve in the capacity ofD CM ,the Parties shallconfer

    and reach agreem entas to anotherneutralthird pal'ty to be engaged by Seasons 52 in the role of

    DCM . lfno agreementcan be reached aûera reasonable period ofconferral,the Partiesagree to

    each subm it three proposed alternative nam es to the Court for its selection of a replacem ent

    DCM .

            32.   Seasons 52 shallcompensate the DCM at a reasonable rate for his/her services

    and those ofany agents,employees,orassociates whose assistance she/he reasonably requiresto

    fulfill the DCM 'S obligations under the Decree. Seasons 52 shall reim burse the D CM 'S

    reasonable out-of-pocketexpenses.

                   Seasons 52 w illwork cooperatively w ith the D CM to facilitte performance of

     his/herduties underthis Decree,and the D CM shallwork cooperatively w ith Seasons 52. The

    DCM willperform his/herworkobjectivelyand independentlyandnotbesubjecttoanyundue
     intluence by any person,corporation or governm entalagency.

           34-.   EEOC m ay com m unicate directly w ith the DCM atany tim e. Ifthe DCM is not

    satisfied w ith Seasons 52'seffortsto com ply with the D ecree,then upon request,the D CM shall

    supply to the EEOC any data,docum entary inform ation,and a1linform ation provided by

     Seasons52 thatEEOC deems necessary to evaluate any reportby the D CM thatreflectsthe

    D CM 'S dissatisfaction w ith Seasons52'seffortsto com ply with the D ecree.




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           35.    A mong otherresponsibilities,the D CM shallensure compliancew ith the termsof

    thisDeùree by review ing reportsand inform ation 9om Seasons 52,requesting and obtaining

    additionalinformation w hen needed,and m aking recom m endationsassetforth in detailherein.

                              IN TERNA L COM PLIAN CE M ON
                                                        ? '
                                                            ITO R
                                                                .



                  W ithin thirty (30)days ofthe Effective Date,Seasons 52 shalldesignate an
    intenzalemployeeasInternalComplianceM onitor(ç$1CM'').TheIntelmalComplianceM onitor
    w illbe responsible,in part,for overseeing Seasons 52's adm inistrative responsibilitiespursuant

    to this Decree and w illreportdirectly to the GeneralCounselofthe Com pany w ith respectto

    Seasons 52'scom pliance with thisDecree forthe duration ofthe decree.

                    COM PLM N TS O F AG E D ISCRIM G A TION IN H IRG G

           37.    The Internal Com pliance M onitor shall receive all H iring Com plaints. The

    lnternal Com pliance M onitor shall be responsible for investigating H iring Complaints. The

    lnternal Compliance M onitor shall have the authority to designate a H um an Resources

    Professionalor D irector ofOperations to conductthe initialinvestigation. In no eventw illthe

     investigation be conducted by a m anager at the individualrestaurantw here the complaint was

    m ade. W ith respectto each H iring Com plaint,the InternalCompliance M onitor shallprepare a

    H iring ComplaintReport,w hich shallinclude the follow ing:

                  Date thatSeasons 52 learned ofthe H iring Complaint;

               b. The allegations made in the H iring Complaint;

                  Forthepersonts)makingtheHiringComplaint:fullname;job titleorposition
                  applied for;Seasons 52 restaum nt location where the application wàs made;all

                  available contact inform ation, such as home address, work address, telephone

                  number,e-mailaddress,anddateofbirth(ifknown);



                                                   8
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               d. Forthe personts)who arealleged to have engaged in age discrimination:full
                  name;job titleorposition;Seasons52 restaurantlocationwherethepersonts)is
                  employed;work address;lastknown home address;lastknow n telephonenum ber;

                  e-mailaddress;anddateofbkth(ifknown);
                  Facts obtained relating to the H iring Complaint;and
                                                                                  f
                  A sum m ary ofthe investigation and any action taken by Seasons52 in responseto

                  the H king Complaint.

           38.    H iring ComplaintReportsw illbe provided to the DCM as provided below . The

    DCM has authority to request non-privileged inform ation relating to the investigation by the

    InternalCompliance Monitor (or designee) including,but not limited to,any investigatory
    reports, m em oranda, notes, w itness statem ents, affidavits, or other investigation related

    m aterials. The DCM has authority to contactthe person who subm itted the H iring Complaint.

    The DCM may make recom m endations to the lnternal Compliance M onitor as to additional

     investigativestepsorcorrective actionthatshouldbetaken.14 aftermakingrecommendationsto
    the lnternalCompliance M onitor,theD CM hasany concernsw ith the investigative orcorrective

    stepstakenbySeasons52,hemaycontactthepersonts)who areallegedto haveengaged inage
    discrim ination and any w itnesses athisdiscretion.The D CM shallprovide a copy ofthe H iring

    ComplaintReportand hisrecom mendationsto EEOC.

           39.    If Seasons 52 believes that any of the D CM 'S recom m endations cannot be

    implemented,then Seasons 52 shallprovide to the DCM a written statement(ssstatemenf')
     identifying those recom mendations Seasons 52 w illnot implem ent,w ith an explanation why,

    withinthirty(30)days. Immediatelythereaûer,theDCM willprovidetheStatementto EEOC.
    To the extentthatEEOC disagrees with D efendant's failure to im plem entthe recom m endations,



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     the disagreementshallbe resolved through the D ispute Resolution Process herein. The EEOC

     musttriggertheDispute Resolution Processwithin thirty (30)daysofEEOC'Sreceiptofthe
     Statement.

                                    RE CR UITIN G AND H HU N G

                  W ithin thkty (30) days ofthe Effective Date,Seasons 52 willcomplete the
     following steps relating to itsjob advertisementsand applications forhourly positionsatal1
     Seasons52 restaurantlocations:

               a. Seasons 52 shalldirect managers orthird-party vendors to include theTollow ing

                   language in a1ljob advertisements: Sçseasons 52 is an Equal Opport
                                                                                    unity
                  Em ployer.'' The failure ofan individualm anageror third-party vendorto include

                  such language shall not be deemed a violation of the Decree, provided that

                  Seasons52takespromptcorrectiveaction uponnoticethatajobadvertisementis
                   notcom pliant.

               b. Each electronic application for FOH and BO H positions shall include the

                   follow ing language in itsequalemploymentopportunity acknow ledgem ent:

                   SEASONS 52 IS AN EQUAL OPPORTUM TY EM PLOYER. QUALIFIED
                  APPLICANTS m LL RECEIVE CONSIDERATION W ITHOUT REGARD
                   TO AGE (THE AGE DISCRIM INATION IN EM PLOYM ENT ACT
                   PRO H IBITS DISCR IM IN ATION O N TH E BASIS O F A GE m TH
                   RES PECT TO INPIWDUALSWlIO AREAGE40AND OLDERJRACE,
                   C OLO RJ RELIGIO N , SEX, G END ER ID EN TIT YJ NA TION AL OR IGIN                 ,
                                                                                             . .. .
                   SEXUA L O RIEN TA TION , FAM ILY STA TU S, OR DISABILITY. W E
                   ENCOURAGE ALL QUALIH ED APPLICANTS TO APPLY. IF YOU
                    B ELIEV E Y OU HA VE BEEN DISCR N G ATED AG AINST, PLEASE
                  '
                    CALL OIJR H OTLG E AT 1-888-400-4515. YO U ALSO H AVE THE
                    RIGH T TO FILE A CH AR G E O F D ISCRW IN ATIO N m TH TH E
                   EQUAL EM PLOYM ENT OPPORTUNITY COM M ISSION.
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               c. The languageinParagraph 4l(b)shallbemadepal4oftheapplication itselfand
                   shallbe placed in aprom inentposition on aw eb page visited by people in orderto

                   complete the electronic applicatidn.

            41. W ithin one hundred eighty (180)daysofthe Effective Date,Seasons 52 will
     complete the follow ing steps designed to recognize the importance ofan age-diverse workforce

     foral1Seasons52 restaurantlocations:

                   H ighlight successfulPA G employees at least six tim es a year in Seasons 52's

                   W hat's Fresh W eekly E-New sletter or a comparable internal com m unication

                   reaching a11Seasons52 employees;

                   To the extentnotdone already as contemplated by this decree,revise,amend,or

                   supplem ent m aterials used to com m unicate policies,-
                                                                         'training, recruiting, and

                   hking,such as handbooks,m anuals,brochures,orvideos,to show an age diverse

                   staff includingthoseinthePAG;
                   Postpicturesofage diverse staffon socialm edia sitesused by Seasons52;

                   Cease to use any posters, brochures, m anuals, and/or banners to illustrate the
                                                                              $
                   Seasons 52 Dressand Appearance Standardsthatdo notshdw age diverse staftl
                   includingthose in thePAG ;

                   Provide recognition to restaurantsN anaging Partners w ho excelathizing diverse

                   employees,including those in thePAG ;

                   Obtain feedback from M anaging Partners w ho excelathiring diverse employees,

                   including those in thePA G,regarding recruiting and hking practices;
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           42. W ithinonehundred and eighty(180)daysoftheEffectiveDate,Seasons52will
     review,analyze,and update its interview and hiringprocess(including Interview Guidesand
     worksheets)foral1Seasons52restaurantlocationsinorderto:
               a. Enhance the hking process tlu-ough consistent use of hking tools by al1 hiring

                   offk ials,including consistentuse oftheprocess laid outin the Interview Guides;

                b. Standardize the interview process to encourage the use ofobjective criteria at
                    interview s;

                   Sl ndardize the provided interview questions in order to elim inate those likely to

                   revealan applicant'sage;

                    Standardize the provided interview questions to elim inate those that are not

                   related tojob qualifkations including,butnotlimited to,thosethatare aimed
                   tow ard an applicant's personalhealth,personallifestyle'
                                                                          ,and/orpersonalhabits;

                    and

                    Provide guidance to hking m anagers regarding when and how to ask about an

                    applicant'sabilitytoperfonn thephysicalfunctionsofthejob (suchasquestions
                                                                                           (
                    as to whether an applicant can lifttrays,work required shihs,or serve m ultiple

                    tables).
                                   A PPLICAN T TRA CK IN G SYSTEM

            43.     D escription of Applicant Tracking System . Seasons 52 currently m aintains an

     electronic applicant tracking system ,the ds-l-alent Acquisition System ,''or ST A S.'' Seasons 52

     w illm aintain TA S,or an electronic applicanttracking system comparable to it,forthe duration

     of this Decree and for allSeasons 52 restaurant locations. TAS w illrecord each applicant for
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     employmentata Seasons 52 restaurantfora BOH and/orFOH Positionts)and track his/her
     progressthrough the application process.

               a. The follow ing inform ation shallbe m aintained for each individualrecorded or

                   tracked in TAS;(1)applicantname;(2)date ofapplication;(3)positionts)for
                   which applicantapplied;(4)restaurantlocationts)to which theapplication was
                   submitted;and(5)whetherornottheapplicantreceivedanemploymentoffer.
               b. D uring the duration of this Decree, Seasons 52 w ill offer a1l applicants the

                   opportunity to voluntarily self-identify date of birth inform ation orto opt-outof

                   providingthis information.

                   W hen presented the offer to self-identify date of birth, a1l applicants w ill be

                   inform ed in w riting as follow s'
                                                    .Sdseasons 52 is com m itted to equalemploym ent

                   opportunity, and employm ent decisions are m ade solely on the basis of

                   qualifkations. Your decision w hetherto disclose this inform ation is completely

                   voluntary and w illhave no effecton yourconsideration forany position forw hich

                   you may apply and no one who m akes interview or hiring decisions w ill have

                   access to the inform ation.This inform ation is used fortracking pup oses to help

                   uspreventdiscrim ination on the basis ofage.''

                   The EEOC agrees that the language relating to self-identitk ation described in

                   Paragraph43(c)isnotcoercive,thatitisbeingemployedforalegitimatebusiness
                   purpose,that it is otherwise consistentw ith the ADEA ,and that it is being done

                   solely forpurposesofresolution ofthe Litigation.

                   The individual age data of each applicant collected under this D ecree w ill be

                   provided to theD CM ,ICM ,and EEO C only.
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            44-.   Inform ation collected tlzrough the ApplicantTracking System w illbe reported to

     the DCM asprovided in the Reporting section below .

                                      D O CUM EN T R ETEN TIO N

            45. W ithinthkty (30)daysoftheEffectiveDate,Seasons52 willissuedkectionsto
     ensure thatthe follow ing documents are m aintained forthe greaterofthe duration ofthisDecree

     plus one year or the time required under its document retention schedule for al1 Seasons 52

     restaurantloqatiolis:

                   A ny and al1applications,resumes,coverletters,interview guides,interview notes,

                   pre-screening results,assessm ents,and other documents relating to recruitment,

                   interview ing,and hiring forFOH and BO H positions atSeasons 52;

                b. A ny and al1data,reports,orrecom m endationsby experts created or compiled in

                   accordance w ith thisDecree;

                   Exem plars of age-diversity related m aterials, such as handbooks, appearance

                   standards,new sletters,socialmedia postings,postings,and recruitmentmessages,

                   created orused in accordance w ith thisDecree'
                                                                ,

                   A llH iring Complaintsand allrelated investigation docum ents;and

                    A 1ltraining m aterials and lists ofattendeesrequired by thisD ecree.

            46.    The DCM m ay review Seasons 523s record retention practices to ensurr

     com pliance with the record retention obligations provided in Paragraph 45. The D CM 'S

     authority includes,but is not lim ited to,the ability to ask for a copy of any records m aintained

     underthissection. The DCM w illrepol'
                                         tany non-com pliance by one ofthe Covered Restaurant

     LocationstoEEOC and Seasons52 inwritingwithinthkty(30)daysofdiscovery.Uponnotice
     from the DCM ofany failure to comply w ith the recordsretention obligations underthis Decree,
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     Seasons52 willhavethirty(30)daystocureanynon-compliancefound.TheDCM shallreport
     any non-compliance by one ofthe Covered RestaurantLocationsto the EEOC.

                                  AN TI-D ISCRN INA TION PO LIC Y

            47. Seasons52willadheretoananti-discriminationpolicy(theddAnti-Discrimination
     Policy'')ata1lofitsrestaurantlocationsthatcomportswith allrequirements ofthe ADEA.
     W ithinthirty(30)daysoftheEffectiveDate,theAnti-DiscriminationPolicywillbeprovidedto
     the EEOC,containing the follow ing elem ents'
                                                 .

               a.      detsnition describing discrim ination in a m anner consistent w ith the

                    requkem ents ofthe law including,butnot lim ited to,a specific reference to non-

                    discrim ination in recruiting and hiring process;

               b. a clear, unam biguous prohibition of discrim ination because of age, and a

                    statem entthatsuch conductviolatesthe 1aw and the Anti-D iscrim ination Policy'
                                                                                                  ,

                    a statement that a11 employees, no m atler thek title, must abide by the A nti-

                    D iscrim ination Policy;

                    a provision that identifies the complaint m echanism available to employees to

                    reportallegationsofdiscrim ination;

                    a statementthat it is the duty ofallsupervisors and allm anagem entoffk ials w ho

                    receive a.complaintofage discrim ination to reportthe com plaintto the designated

                    individualsordepartm ents;

                    a statement that it is the duty of al1 supervisors and m anagem ent oftk ials to

                    m onitor the workplace for discrim ination and that if they suspect that such

                    conducthastakenplace,itistheirdutyto repoftittothe designated individualsor
                    departm ents;
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                   a statementthatemployees willnotbe subjected to retaliation for reporting
                   suspected discrim ination;

               h. a statementthatreports ofdiscrim ination and investigations ofthose reports w ill

                   bekeptconfidentialunlessdisclosure isrequired for investigation orby law ;

                   a statem entthata11reportsofage discrim ination w illbe investigated and resolved

                   promptly,and where complaints are found to have m erit,appropriate disciplinary

                   action w ill be taken against the offender, up to and including term ination of

                   employm ent.

                   astatementwarningtàatpersonswhoengageindiscriminationwillbesubjectto
                   disciplinary action,up to and including im m ediate discharge;

               k. a statementthatemployees have a rightto reportpractices thatthey believe to be

                   unlaw ful discrim ination to government agencies, including to the Equal

                   Employm entOpportunity Comm ission;and

                   a requirem ent that the complainant will be informed of the results of the

                   investigation, i.e.,w hether the complaint was substantiated,unsubstantiated,or

                   not conclusive, and in a m anner consistent w ith other em ployees' rights to

                   confidentiality.

            48. W ithinninety (90)daysoftheEEOC'SreceiptoftheAnti-DiscriminationPolicy
     described in Paragraph 47,Seasons52 w illdistribute a copy of itsA nti-D iscrim ination Policy to

     al1current m anagers,place it in a prom inentposition on the intranet site used by Seasons 52

     employees, and m>ke copies available to employees atal1Seasons 52 resuurants.Seasons 52

     w illprovide a copy ofthe Anti-D iscrim ination Policy to a1lnew m anagersand employees hired

     thereafter on such person's first day of w ork,and w ill review the A nti-D iscrim ination Policy
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     duringorientationand/ornew managertraining(thedsM anagqrinTraining,''orStMIT''program).
     W hen new handbooks are printed,the Anti-D iscrim ination Policy w illbe included. Seasons 52

     w illredistribute the A nti-D iscrim ination Policy electronically to allrestaurantmanagersarmually

     through its Recomm itmentprocess and make it available to allemployees through the intranet

     site ata1ltim es.

                                               TR M N IN G

            49.     Employee Training. N ew ly hired Seasons 52 m anagers and hourly employees at

     all Seasons 52 restaurant locations shall be educated about Seasons.52's anti-discrim ination

     policies and reporting procedures during new employee orientation. The training m ay be

     completed via video orlive training during the term ofthisDecree.

            50.     M anager Training. Seasons 52 shall prom ote supervisor accounàbility by

     implem enting the follow ing manager training for m anagers involved in the hiring process for

    'hourly employees(including DirectorsofOperations):Providingnotlessthan two (2)hoursof
     livetrainingannuallythatcovers:(i)therequirementsofanti-discriminationlaws,includingthe
     ADEA;(ii)thecontentsofthisDecreeto ensurecompliance,specificallywithreferencetothe
     applicanttrackingsystem;(iii)Seasons52'sAnti-DiscriminationPolicy;(iv)Seasons52'sEEO
     and non-retaliation policies and complaint reporting procedures;(v) age-neutraland non-
     discriminatoryrecruiting,interviewing,andhiring;and(vi)trainingonhow toavoid stereotypes,
     including ageism and age stereotypes, in hiring and in the workplace. This training shallbe

     completed in person,w ithin six months ofthe Effective D ate,and on an annualbasisthereafter

     during the term ofthisDecree.

            51.     M anager-in-Training (dtM 1T''):Dudng thatportion ofSeasons 52'sM 1T training

     thatoccurs in Orlando,Florida,Seasons 52 shallinclude notless than two (2)hoursoflive
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     training related to equal employment opportunity and non-discrim ination, including'
                                                                                        . A nti-

     Discrimination Policy and complaint reporting procedures; (ii) the non-discrimination
     requkementsofthe law,includingtheADEA;(iii)interviewing and hiringpracticesaimed to
     ensurecompliancewiththeAnti-DiscriminationPolicy;(iv)bestpracticestorecruitandretaina
     diverse workforce, including with respect to age diversity; (v) training on how to avoid
     stereotyles in hiring and in the workplace, including ageism and age stereotypes;(vi) an
     explanation ofthe applicanttracking system;and (iv)Seasons 52'sEEO and non-retaliation
     policies. M 1Tsalso w illcomplete the M anagerTraining described in Parag aph 50.

            52.     N RO Training: ln connection w ith eachN RO during the duration ofthis Decree,

     Seasons52 shallincludenotlessthanone(1)houroflivetrainingto a11managersinvolved in
     hkingattheNRO covering'
                           .(l)age-neutralandnon-discriminatoryrecruiting,interviewing,and
     hking;and(2)how toavoidstereotypesinhiringan'
                                                 dintheworkplace,includingageism andage
     stereotypes.

            53. W ithin thh'ty (30) days of each NRO training,Seasons 52 willprovide an
     electroniclistofthenames,jobtitles,andwork locationsofal1attendees,withdateand location
     ofattendance,to the DCM ., Atthe DCM 'S request,Seasons 52 w illperm itthe D CM to review

     copies of any pamphlets,brochures, outlines, or other written m aterials to be provided to the

     participants ofthe training session,orto attend any training session.

                                N OTICES AND COM M UN ICATIO NS

                    W ithin thkty (30)days aûerthe Effective Date,Seasons 52 shalldkectthe
     M anaging Partnersto posta lam inated copy oftheN otice attached as ExhibitA to thisD ecree at

     each Covered RestaurantLocation in a conspicuous location easily accessible to and com monly

     frequented by hourly employees and thereafter shallensure thatsuch N otice is properly posted.
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     Seasons52shallcertify to EEOC inwritingwithin fm een(15)businessdaysaûertheposting
     deadline that the direction to post the N otice has been properly com m unicated and that the

     N otices have been posted. Seasons 52 shallperm it the D CM to enter the prem ises of any

     Covered Restaurant Location forpurposes of verifying compliance w ith this Paragraph at any
                            f
     tim e during normalbusiness hoursw ithoutpriornotice.

            55.     O n an annualbasis during the duration ofthisDecree,thePresidentofSeasons52

     w illdeliver an executive message to M anaging Partnersr irectors ofOperations atalIrestaurant

     locations regarding the im portance ofequalemploym entopportunity and diversity,including age

     diversity in hiring.

                    Priorto each N RO,the responsible D kectorofOperationsw illdelivera m essage

     to allhking m anagersregarding the importance ofequalemploym entopportunity and diversity,

     including age diversity in hiring,ideally in the Opening Team M eeting.

                                  JOB VA CA NC Y N O TIFICATION

            57.     EEOC and/orthe Claim s Adm inistratorw illask each AAP potentially eligible to

     receive a m onetary award if he or she is interested in reapplying foremploym entw ith Seasons

     52foraFOH and/orBOH Positionts).
            58.     lfthe AAP indicates a present interest in em ploym entw ith Seasons 52,then the

     C laims Adm inistratorw illadvise the AAP'Sthathe or she can apply online forany vacancies at

     theSeasons52 locationts)towhichtheapplicantexpressedan interest,andthatheorshewillbe
     consideredalongwithanyotherapplicantsandwillnotbesubjectedtoeitheragediscrimination
     orretaliationforhavingparticijated inthislawsuitasaClaimant.
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                                        M ON ETAR Y RELIEF

            59.     Claim s Settlem ent Fund. W i
                                         -   -  thin forty-five (45) days ofthe Effective Date,
     Seasons52agreestopayTwoM illionEightHundredFiftyThousanddollars($2,850,000.00)in
     full monetary settlem ent of this law suit. Seasons 52 shalldeposit the m oney into an interest-

     bearingQualified SettlementFund underj468(b)ofthe lnternalRevenueCode,whichwillbe
     administeredbyathirdpartyclaimsadministrator(sûclaimsAdministrator'')selectedbyEEOC.
     Defendant w ill notify the DCM in w riting once the paym ent is complete, and the D CM w ill

     notify EEOC.

            60.     ThepurposeoftheQualifed SettlementFund istoprovideindividualmonetary
     awards to EAps. The C laims Adm inistrator shall have authority to issue checks 9om the

     accountto EAps.

            61.     EEO C shallhave the sole authority to determ ine the EAPS and the amountto be

     paid to each EA P in accordance w ith the procedure outlined in the C laims A dm inistration

     Section below . Seasons 52 w illnot participate or have a role in determ ining eligibility for

     m onetary awardsorthe am ountofthe aw ards,and w aivesany rightto contestthe sam e.

            62.     Taxes. Seasons 52 w ill be responsible for paying its share of a1l applicable

     payrolltaxes on aw ards of back pay m ade to EAps. The Claim s A dm inistrator w illprovide

     Seasons52 w ith allinform ation required by Seasons 52 fortax pup oses in a tim ely m anner.The

     C laims Adm inistrator shall be responsible for issuing appropriate tax form s to EAPS as

     applicable. Payrolltaxesshallnotbe deducted from any portion ofan aw ard paid as liquidated

     damagesorinter
                 f
                   est.

                    C laims Adm inistration Expenses. A 1lcosts and expenses relating to the claim s

     adm inistration process shall be paid by Seasons 52 separate and apart from the Claim s
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     Settlem entFund. The C laims Adm inistratorshallbillSeasons 52 on an as-incurred and monthly

     basis.

                    Failure to M ake Tim ely Paym ent. lf Seasons 52 fails to tender the payment

     described in paragraph 59 of this D ecree, Seasons 52 w ill pay interest on the defaulted

     paymentts)attheratecalculatedpursuantto 26U.S.C.Section 6621(b)untilthesameispaid,
     and bearany additionalcostsincurred by Seasons 52'snon-com pliance ordelay.

                                    CLm      S ADM IN ISTR ATION

                    W ithinthil'
                               ty(30)daysoftheEffectiveDate,Seasons52shallengagetheClaims
     Adm inistrator selected by EEOC, and the C laim s Adm inistrator w illcom m ence its duties in

     accordance w ith thisD ecree and instructions 9om the EEOC.

              66.   The Claim s A dm inistrator may provide the follow ing services pursuant to this

     Decree,consistentw ith instructions 9om EEO C and thisD ecree:

                a. create and m anage a Quali
                                            tsed SettlementFund under j468(b)ofthe Internal
                    RevenueCode;

                    identify, locate,and com m unicate w ith AAPS via telephone,e-m ail,and/orother

                    m eansofcom m unication'
                                           ,

                    create a website dedicated to claims adm inistration;

                    send and receive notices,questiormaires,and formsto A APs;

                    create,track'and maintaindataregardingAAps;
                    answer questions from A M S and/or EAPS about the claim s adm inistration

                    process;

                g. identify EAPS based on criteria provided by the EEOC and propose m onetary

                    distributions foreach person;
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               h. transm itnotificationsto AA PS and EAps;

                   transm itand review release form s;

                   issue paym entto EAPS 9om the Claim s SettlementFund;

               k. m akeperiodic reportsofactivitiesto EEO C;

                   conferw ith EEO C regarding adm inistrative m atters;

               m. issue and file related tax documents (including butnotlimited to t'zx returns
                   requiredto befiled bythe QSF and W-2/1099 formsforallpayments9om the
                   QSF);and
                n. perform such other adm inistrative tasks as it and EEOC m ay deem necessary to

                   facilitate theclaim s adm inistration process.

                                          CLA'
                                             IM S PR O CESS

            67. ldentification ofAAps.W ithin one hundred and eightydays (180)daysofthe
     Effectivè Date,EEOC shalltransm itto the Claim s A dm inistrator a list containing, if available,

     the full names, last known addresses,telephone numbers,and em ailaddresses for all AAps.

     EEOC hasthe sole discretion and exclusive rightto identify AA ps,and this identification cannot

     be challenged by Seasons52.

            68.    EEOC w illdkect the Claim s A dm inistrator to, w ithin a reasonable amount of

     tim e asdeterm ined by EEOC,distribute a notice from EEOC containing notice ofthe settlem ent,

     an explanation of the eligibility determ ination process, the w ebsite dedicated to the claim s

     administrationprocess,andaquestiolmaire(sçlnitialPackage''),andadeadlineforsubmissionof
     all claim s, to all known A Aps. The lnitial Package m ay clearly identify a deadline for

     subm ission of a1lclaims. EEO C w illalso determ ine w hat additionalsteps are to be taken to

     reach AAps.
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            69.    Review of Ouestionnakes.          The Claims Adm inistrator w ill review a11

     Questionnakesto identify AAPSwho areeligibleto receive amonetary award based on criteria
     provided by EEO C. The EEOC w ill, in its sole discretion, make the final eligibility

     determ ination. The criteria for eligibility shall include, but is not lim ited to, the follow ing:

     (1)confkmation thatthe individualis in the protected age group;(2)confkmation thatthe
     individualapplied to Seasons 52;(3) conflrmation thatthe individualwas interviewed by
     Seasons52,and (4)conflrmationthatthe individualwasnothiredby Seasons52. Seasons52
     shallnotchallenge any such determ ination.

                    AA PS w ho seek to recover m onetary compensation m ust com plete the

     Questionnaire and postmark the'mailing and/or send an e-mailresponse within an EEOC-
     established deadline. The time may be extended by the EEO C for good cause shown. The

     Questionnairemustbetimelyinordertobeconsidered.Anyperson whoseQuestionnaireisnot
     tim ely postm arked shallbe barred from receiving any reliefunder this Dec,
                                                                               ree or in connection

     w ith thisaction.

                    A llEA PS who receive m onetary reliefpursuantto this Decree shallbe required,

     asa condition ofreceipt,to execute the releaseattached asExhibitB.

            72.     Final Determ ination of Eligibility. The Claim s Adm inistrator shall make

     recom m endations to EEO C as to w hether the A Aps w ho filed tim ely claim s are eligible to

     receive a m onetary aw ard based on criteria provided to itby EEOC and,ifso,the amountofeach

     monetary award. ln making its recom m endations,the C laim s Adm inistrator shallconsiderthat

     evidence EEOC deem sappropriate,including,butnotlim ited to,evidence received by EEO C in

     its investigation of the charges of discrim ination underlying this action, in connection w ith its

     litigation of this action, and in connection w ith the claim s process provided by this Decree.
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     EEO C shall review the recom m endations of the Claims Adm inistrator and make a1l final

     eligibility determ inations.

                    A llocation ofM onetarv Relief EEO C shallbe the sole determ iner ofthe amount

     ofmonetary reliefto be received by any EAP underthisD ecree. Seasons 52 w illnotparticipate

     inorobjecttoEEOC'Sdetenuinations.
            74.     N otifk ation of Aw ards.EEOC shall cause the Claim s Adm inistrator to notify

     each Claimant(both EAPSaswellasthose notreceivinga monetaryaward)in writing ofthe
     amountofhisorhermonetaryaward,ifany,and oftheanticipated dateonwhichEEOC plansto

     seek ApprovalofA llocation ofSettlementFunds. The N otifk ation ofA ward m ay indicate that

     theawardissubjecttoreview ormodifkationonlybytheCourt.
            75.     Release of Claim s. A long w ith the N otitk ation of Aw ard, the C laim s

     AdministratorshalldelivertoeachEAP aRelease(attachedheretoasExhibitB).EachEAP will
     be notified that in orderto receive m onetary paym ents underthis Decree,he orshe mustexecute

     and deliver to the Claim s A dm inistrator an appropriate Release,which w illbecom e effective

     upon the entry of the Order A pproving the A llocation of Settlem ent Funds. The letter w ill

     inform each EAP thatsuch Release m ustbe signed and returned to the Claim s Adm inistratorso

     thatitisactuallyreceivedbytheClaimsAdministratorwithinsixty(60)daysoftheNotification
     ofAw ard.Any EA w hose executed Release isnotactually received by the C laim sAdm inistrator

     withinseventy-tsve(75)daysoftheNotifkationAwardshallbeineligibleforand foreverbarred
     9om receiving any reliefunderthis Decree. The time m ay be extended by the EEOC for good

     cause shown including where the potentialEAP did notreceive the Questionnaire in a timely
     m anner, but in no event, m ay the tim e be extended for m ore than one year. The C laims

     A dm inistratorshallprovide alloriginalsigned releasesto Seasons52 and m aint in copies forthe
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     EEO C. Prior to providing signed original releases to Seasons 52, and prior to sending any

     m onetary aw ards,the Claim s Adm inistratorshallreview al1releases to ensure they are properly

     executed. ln the event that a Release has not been properly executed and proper execution

     appearspossible as determ inid by EEOC,the ClaimsAdministratorshallcontacttheEAP and

     attemptto procure a properly executed release.

            76.    M otion forApprovalofA llocation ofSettlem entFunds. Upon the determ ination

     ofallclaim sand the receiptofproperly executed releases fora1lEAps,EEO C shallfile a motion

     w ith the D istrictCourtseeking approvalofthe allocation ofthe Settlem ent Fund am ong those

     EAPS who have executed and tim ely returned the Releases. A san exhibitto this m otion,EEOC

     shall file a proposed settlem ent distribution list containing the nam e and proposed gross

     setllement amount for each EAP. Seasons 52 shallnot challenge the proposez settlement
     distribution list. Aûer appropriate review, in connection w ith w hich EEOC shallprovide any

     inform ation within EEOC'S possession that the Courtrequests, the Courtw ill enter an Order

     Approving the A llocation ofthe Settlem ent Funds and the distribution thereofpursuantto this

     ConsentDecree.

            77. Distribution ofSettlementFund. W ithin forty-five (45)daysofthe receiptof
     N otifk ation from EEO C thatthe OrderApproving the A llocation ofthe SettlementFunds by the

     Courthasbeenentered,theClaimsAdministratorshallissueandmailanycheckts)(allocatedas
     provided inParagraph78below)toeachEAPdeemedeligibleforamonetaryaward inthegross
     am ountreflected in the Gnalsettlem entdistribution list,less applicable deductions.

            78.     Tax TreatmentofM onetary Awards. The m onetary aw ards shallbe allocated as

     determ ined by EEOC. The Claim sA dm inistratorshallissue appropriatetax form sw ith regard to

     the award.
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            79.    D istribution of Any Residual A mount in the C laim s Settlem ent Fund. ln the
                                                             ->
     eventthatchecksare returned and/orthe SettlementFund is notcbmpletely distributed forany

     reason,EEoc may directthe c laims Adm inistratorto allocate the remaining funds to a cypres

     fund to be distributed to lraq and A fghanistan Veterans of A m erica, a charity located at 633

     Third A venue, 6th Floor, New York,NY 10017,and devoted to providingjob assi
                                                                                stance to
     veterans. The C laims Adm inistrator shall work w ith the lraq and A fghanistan Veterans of

     Americatoensurethatthefundsareusedforemploymentservicesandjobassistance.
            80.    Relationship Between Eligibility for an Aw ard and Present H keability. A

     determ ination of eligibility for an award pursuant to the term s ofthis Consent Decree is not a

     determ ination of present hireability. An individual's eligibility for an award pursuant to the

     terms ofthis Consent Decree does not m ean thatthe sam e individualis presently qualifed for

     employm entw ith Seasons 52 in a BOH and/or FO H Position. Eligibility does not guarantee or

     secure a position w ith Seasons 52 forany individualnow or in the future.

            81.    Forwarding of O uestionnaire Form s to EEOC .A t EEOC 'S request,the Claim s

     A dm inistrator shall forward questionnaire form s, supporting documentation, and all other

     com municationspr information received from AAps'orEAps.

            82.    Confidentiality of Ouestionnaires. The Claims Adm inistrator shall treat

     questionnaires itreceives asconfidential,and w illshare those questionnairesonly w ith EEOC.

            83.    Late Claim s. For claims received after the filing deadline, the C laim s

     Adm inistrator shall, if so dkected by EEO C, notify late-filiùg A Aps that thek claim s are
                                                 1
     untim ely and thatthey are noteligible forany m onetary award. The C laim sA dm inistratorshall

     also, ifso dkected by EEO C,and inform late-filing A Aps that they m ay seek a review of the

     determ ination that they filed untim ely by requesting EEOC to reconsider its determ ination.
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     EEOC m ay reverse the Claim s A dm inistrator's determination thata claim w asnottim ely tiled,

     in itssole discretion.

            84.     C laim s of Deceased Persons.Claim s m ay be filed on behalf of deceased AAPS

     throughrepresentativesoftheirestateornextofkin ifappropriatedocumentation (e.g.,letters
     testamentary orthe equivalept)isprovided. EEOC willhavefinalauthority to determinethe
     validity ofclaims filed on behalfofdeceased AA PS.

                                  REPORTING REOUIREM ENTS

            85.     O uarterlv R eports.Seasons 52 shallconducta quarterly review of its applicant

     tlow through its TAS system forF0H and BO H Positions atCovered RestaurantLocations,to

     include:

                a. ApplicantFlow:numberofapplicantsandnumberhired,brokendownby:(i)the
                    nameofapplicants;(2)positionsappliedfor;(ii)ageofapplicants;(iii)restaurant
                    locations;and (iv)any otherpertinentinformation maintained in the Applicant
                    Tracking System .

                    EmploymentFigtlres:numberofFOH andBOH employees,brokendownby:(i)
                    position;(ii)age;(iii)restaurantlocation;and(iv)dateofhke.
            86. Thefindingsofeachquarterlyreview shallbesummarized inaQuarterlyReport
     andprovidedtotheDCM onMayl5,August15,November15,andFebruary15.TheQuarterly
     Review Reportshallinclude an electronic copy ofthe TA S data relied on to create the report.In

     addition,within thkty (30)daysafterthe lastday oftheterm ofthisDecree,Seasons52 shall
     submitthe Quarterly Reportand electronic copy ofthe applicanttracking system forthe fnal
     quarterly period ofthisDecree.
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            87.    DCM Review. Upon review ofthe Quart
                                                     erlyReview Reportand TAS data,the
     DCM .
         may shallconduct a study of Seasons 52's recmiting and hirinj practices and data
     regarding hking individuals in the protected age group and m ake recom mendations to Seasons

     52. The DCM shallprovide to the EEOC a copy ofany findings and recom m endations made to

     Seasons 52. A l1recom mendations of the D CM w illbe consistent w ith the pup oses of this

     Decree. If the D CM is not satisfied w ith Seasons 52's efforts to com ply with the Decree,then

     upon request,the D CM shall further supply to the EEO C any data,documentary inform ation,

     and a11inform ation provided by Seasons52 EEO C deems necessary to evaluate any reportby the

     DCM that reflccts the D CM 'S dissatisfaction w ith Seasons 523s efforts to comply with the

     Decree.

            88. W ithin forty-five(45)daysofSeasons529sreceiptofanyrecommendationsby
     the D CM , Seasons 52 w ill in good faith im plement or begin implem entation of al1

     recom m endations other than those Seasons 52 identifes to the DCM as disruptive of its

     legitim ate business operations. If Seasons 52 believes thatany ofthe D CM 'S recom m endations

     cannotbeimplemented,thenSeasons52shallprovidetotheDCM (alsowithinforty-fivedays)a
     written statement (sdstatement'') identifying those recommendations Seasons 52 will not
     implem ent, w ith an explanation why. Im m ediately thereafter, the D CM w ill provide the

     Statementto EEOC. To the extentthatEEOC disagrees with D efendant's failure to implem ent

     the recom mendations,the EEOC m ustprovide notice of any dispute. In the event a dispute is

     raised,the Partiesw illconferin an effortto resolve the dispute. Ifthe Parties are unable to reach
     resolution aûer conferring,either party m ay initiate the Dispute Resolution Process described

     herein.
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            89.    Sem i-A nnual Reports. On February 15,and A ugust 15, annually, Seasons 52

     shallprovidethe D CM w ith written repol'tsthatshallcontain:

               a. A certification 9om the lnternalCompliance M onitorthatthe Rec/uiting and
                   H iring Stepsdescribed in the Decree have been completed.

                   A copy of any docum ents or other materials required to be created or updated

                   undertheterm softhisDecree.

               c. A certification 9om the lnternalCompliance M onitorthattheN otices required to

                   be posted pursuantto the D ecree were in factposted;

               d. A certification 9om the lnternalCompliance M onitor thatthe Training requked

                   bythe Decreeoccurred,and a listofa11attendees9om theentire six (6)month
                   period preceding the Report,ifrequked;

                   A1lHiring ComplaintReportts) from the six (6) month period preceding the
                   Report. ln the eventthere are no complaints of age discrim ination,Seasons 52

                   shallsend a dtnegative''reportindicating no activity.

                                      DISPU TE R ESO LUTIO N

            90.    In the eventthateitherparty to thisDecree believes thatthe otherparty has failed

     to comply w ith any provision ofthis Decree,the com plaining party shallnotify the otherparty of

     theallegednon-compliancewithintsfteen(15)businessdaysofthediscoveryoftheallegednon-
     compliance and shallafford the alleged non-complying par'iy fiâeen (15)businessdaysto
     remedy the alleged non-compliance or to satisfy the com plaining party that the alleged non-

     complying party hascom plied.




                                                   29
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            91.    Ifthe alleged non-complying party has notrem edied the alleged non-com pliance

     orsatissed the complaining party thatithas complied within fifteen (15)businessdays,the
     complaining party m ay apply to the coul'tf0rappropriate relief

                                 N O TIFICATION TO SUC CESSO RS

            92.    Seasons 52 shallprovide priorw ritten notice to any purchaserofits business,ora

     purchaser of all or a portion of Seasons 52 assets,and to any other successor,of the EEOC'S

     law suit, allegations raised in the EEOC'S com plaint, and the existence and contents of this

     Decree.

                            REPORTING REQUIREM ENT (CONTACT)
            93.     A llreports, notices and other docum ents requked hereunder to be delivered to

     EEOC shallbe sentto RegionalAttorney RobertE.W eisberg,Re:Seasons 52 ConsentD ecree,

     EqualEmploym ent Opportunity Com m ission,M iam iTower, 100 S.E.2nd Street, Suite 1500,

     M iami,Florida33131androbert.weisberg@ eeoc.gov.
            94.     A l1reports, notices and other docum ents required hereunder to be delivered to

     Seasons 52 shallbe sentto Gerald L.M aatman,Jr.,Re:Seasons 52 Consent Decree,Seyfarth

     Shaw LLP, 233 South W acker Drive, Suite 8000, Chicago, lllinois 60606-6448 and

     gmaatman@ seyfarth.com and Darden Resturants,Attention:GeneralCounsel,Re:Seasons52
     ConsentDecree,1000DardenCenterDrive,Orlando,Florida,32837andethics@darden.com.
                                                 CO STS

                    Each party to thisD ecree shallbearitsow n costsassociated w ith this litigation.

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                                                        TED STATES DISTRICT JUDGE
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                                              1Ub/EJOAN A.LEN/Rb             -
                                              UNITED STATN@ DISTRICT JUDGE
      AGREED T0:                                                -
      F0R 7'IIE PLAINTIICF.EQUAL EM I3LOYM EN'I'OPPORTUNI-IA'COM M ISSION:

       Date-
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                      bert .W eisbcrg,Esq-,        '
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      RcgionalAttorney t  brU.S.EqualEmploymentO portlnity Com m ission
      Florida BarNo.285676
      Nliam iDistrictOflice
      Nliam iTower,I00 S.E. -.2nd Street.Suite 1500
      s'liam i.FIorida 33131
      Tcl:(305)808-1789
      Fax:(305)808-1835
      E-Mail;rot
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      AGREED TO:

      FOR TI'IE DEFEN DANT GM RI.INC.:



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                        U.S.EQUAL EM PLOYM ENT OPPORTIJNITY COM M ISSION
                                              W ashington,D .C.20507

                                               N OTICE

            1.     ThisN O TICE to al1employeesofSeasons 52 isbeing posted and provided aspal4
     of a mutually agreed upon Consent Decree between Seasons 52 and the U.S.EQUAL
     ENPLOYMENT OPPORTUNITY COM MISSION (d$EEOC'')inCivilActionNo.15-cv-20561
     (S.D.Fla.),whichallegedthatSeasons52discriminatedonthebasisofageinhkingforitsfront
     of the house and back of the house positions. Seasons 52 has denied al1 allegations of
     discrim ination. As pal'tofthe resolution ofthis m atter,Seasons 52 agreed to postthisN otice to
     reflectitscom m itm entto hke employeesregardlessoftheirage.

            2.     Seasons52'spolicy and federal1aw require thatthere be no discrim ination against
     anyemployeeorapplicantforemploymentwho isageforty (40)orolder,orbecause aperson
     made a complaint of discrimination because of age with respect to hiring, compensation,
     promotion,discharge,orotherterm s,conditions,orprivilegesofemploym ent.

            3.     Seasons 52 w illcomply w ith such federal law in a1laspects,and itw illnottake
     any action against employees because they have exercised their rights under the law by filing
     charges or cooperating w ith the U .S. Equal Employm ent Opportunity Com m ission or by
     othem ise opposing employmentpractices m ade unlaw fulunderfederallaw .

            4.     A spartofthis decree,Seasons52 agreed to:

        U-
         R1distribute its anti-discriminationpolicy;
        Fr7h train its managers on the policy and the requirements of the Consent Decree;adopt
            various m onitoring and reporting m easures to ensure compliance w ith the Consent
            Decree;and
        U-
         CCltake affrmative stepsto increase its recruitmentand hiring of employees age 40 and
            olderforfrontofthe house and back ofthe house positionsatitsrestaurants.

            5.     The EEO C is the federal agency responsible for enforcing the federal laws
     described above and receiving complaintsregarding theirviolation.The EEO C m aintainsoffices
     throughoutthe United States,and can be contacted at1-800-669-4000 and w ww .eeoc.gov.

            ThisN OTICE w illrem ainposted for3 YEARS FROM D ATE OF SIGNA TURE.

                                                  SIGN ED this       day of                 ,2018.



                                                  President,Seasons52

     D 0 N O TRE M O VE TH IS N OTICE UN TIL 3 YEAR S FR OM DA TE OF SIGNA TUC
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                                    R ELEASE AND W AJV ER


              IN CON SIDEM TION OF SETTLEM EN T FUND S RECEIV ED, under that

     certain ConsentD ecree dated                      ,in connection w ith theresolution of

    EEOC v.GMRL Inc.,CaseNo.15-cv-20561-.
                                        TLK (S.D.F1a.)(the tdLawsuif'),Ihereby
     providethe follow ing release/waiverofclaimsagainstGM RI,1nc.:

                  Ihereby know ingly,voluntarily,krevocably and unconditionally
                  waiveand release a11claims,actions,damages ofany sort,costs,
                  expensesand attorneys'fees,and liabilitiesofany naturewhatsoever
                  fordiscrim inatory failureto hke based on agearising undertheAge
                  D iscrim ination in EmploymentA ctof1967,asam ended,29 U .S.C. j
                                                                                .

                  626(b)(the(W DEA''),thatwerealleged intheComplaintfiledbythe
                  EEOC orin theLaw suit,from February2010 through theeffective
                  date ofthe ConsentD ecree.


     D ate:

     N ame:
                  (ClaimantNamePrintedj


     Signature:
